Case 18-68449-lrc        Doc 37      Filed 09/11/19 Entered 09/11/19 16:09:39                   Desc Main
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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION
          IN RE:                                      )        CASE NO. 18-68449-LRC
                                                      )
          ELLIS WILTON GARNER                         )        CHAPTER 13
                                                      )
                   Debtor.                            )

              CERTIFICATE OF MANNER OF SERVICE PURSUANT TO
                          BANKRUPTCY RULE 7004

          This is to certify that on September 11, 2019, I served a copy of the Amended
  Chapter 13 Plan filed in the above-styled case on June 3, 2019 (Doc. No. 32) by depositing
  same in the United States mail with the adequate postage affixed thereto to insure delivery
  addressed as follows:
  ALDRIDGE PITE, LLP
  Fifteen Piedmont Center
  3575 Piedmont Road, N.E., Suite 500
  Atlanta, GA 30305
  Attn: Brian K. Jordan

  Ocwen Loan Services
  PO Box 6440
  Carol Stream IL 60197

  Ocwen Loan Servicing, LLC
  c/o Corporation Service Company
  40 Technology Parkway, South Suite 300
  Norcross, GA 300921

  Ocwen Loan Servicing, LLC
  c/o Corporation Service Company
  251 LITTLE FALLS DRIVE
  Wilmington, DE 198082

  Mortgage Electronic Registration Systems, Inc.
  PO Box 2026
  Flint, MI 48501-20263


  1
    Per Georgia Secretary of State website
  2
    Per Delaware Secretary of State website
  3
    Per Security Deed, recorded October 9, 2006 with Clerk of Superior Court, Fulton County, Georgia, Deed
  Book 43625, Page 611
Case 18-68449-lrc        Doc 37      Filed 09/11/19 Entered 09/11/19 16:09:39                   Desc Main
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  Fremont Investment & Loan
  2727 E. Imperial Highway
  Brea, CA 928214

  Deutsche Bank National Trust Company, as Trustee for Morgan Stanley ABS Capital I
  Inc. Trust 2007-HE3 Mortgage Pass-Through Certificates, Series 2007-HE3
  c/o Ocwen Loan Servicing
  1661 Worthington Road, Suite 100
  West Palm Beach, FL 334095

  OCWEN LOAN SERVICING, LLC
  1661 Worthington Road
  Ste 100
  West Palm Beach, FL, 334096

  Deutsche Bank National Trust Company
  c/o Ocwen Loan Servicing, LLC
  Attn: Bankruptcy Department
  PO Box 24605
  West Palm Beach, FL 33416-46057



  DATED: September 11, 2019

  _____/s_____________
  Howard P. Slomka
  Georgia Bar #652875
  Attorney for the Debtor
  Slipakoff & Slomka, PC
  3350 Riverwood Parkway
  Suite 2100
  Atlanta, GA 30339
  se@myatllaw.com
  (404) 800-4001




  4
    Per Security Deed, recorded October 9, 2006 with Clerk of Superior Court, Fulton County, Georgia, Deed
  Book 43625, Page 611
  5
    Per Assignment of Deed to Secure Debt Georgia, recorded April 24, 2012 with Clerk of Superior Court,
  Fulton County, Georgia, Deed Book 51131, Page 329
  6
    Principal office address per Georgia Secretary of State
  7
    Per Proof of Claim filed December 19, 2018
